
50 So. 3d 698 (2010)
Donna Ann RENNA, former wife, Appellant,
v.
Gregory Scott RENNA, former husband, Appellee.
No. 1D10-5586.
District Court of Appeal of Florida, First District.
December 10, 2010.
R. Flint Crump of the Law Office of R. Flint Crump, Gainesville, for Appellant.
Patricia M. Lee, St. Petersburg, for Appellee.
PER CURIAM.
DISMISSED. See Hoffman v. O'Connor, 802 So. 2d 1197 (Fla. 1st DCA 2002); Demont v. Demont, 24 So. 3d 699 (Fla. 1st DCA 2009).
WEBSTER, HAWKES, and THOMAS, JJ., concur.
